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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES ET AL.                                                    CIVIL ACTION

                                                                             No. 12-859
 VERSUS                                                                      c/w 12-138
                                                                           REF: 12-859

 MARLIN GUSMAN ET AL.                                                       SECTION I


                                               ORDER

       IT IS ORDERED that a status conference will be held in the undersigned’s courtroom

on Thursday, June 25 2015, at 8:30 a.m. CST. DOJ counsel may participate by telephone if

the Court is provided with a telephone number prior to the conference.

       New Orleans, Louisiana, March 30, 2015.



                                                    ___________________________________
                                                           LANCE M. AFRICK
                                                    UNITED STATES DISTRICT JUDGE
